Case 18-70582-JAD   Doc   Filed 07/14/21 Entered 07/14/21 13:53:33   Desc Main
                          Document      Page 1 of 8
Case 18-70582-JAD   Doc   Filed 07/14/21 Entered 07/14/21 13:53:33   Desc Main
                          Document      Page 2 of 8
Case 18-70582-JAD   Doc   Filed 07/14/21 Entered 07/14/21 13:53:33   Desc Main
                          Document      Page 3 of 8




                                      Deonte Bracey
Case 18-70582-JAD   Doc   Filed 07/14/21 Entered 07/14/21 13:53:33   Desc Main
                          Document      Page 4 of 8
Case 18-70582-JAD   Doc   Filed 07/14/21 Entered 07/14/21 13:53:33   Desc Main
                          Document      Page 5 of 8
Case 18-70582-JAD   Doc   Filed 07/14/21 Entered 07/14/21 13:53:33   Desc Main
                          Document      Page 6 of 8
Case 18-70582-JAD   Doc   Filed 07/14/21 Entered 07/14/21 13:53:33   Desc Main
                          Document      Page 7 of 8
Case 18-70582-JAD   Doc   Filed 07/14/21 Entered 07/14/21 13:53:33   Desc Main
                          Document      Page 8 of 8
